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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

SIMON TUSHA,                           )
J.T.                                   )
                                       )
                      Plaintiffs,      )
                                       )
               v.                      ) C.A. No. 1:21-cv-00494-RGA
                                       )
PEDIATRIC ASSOCIATES, P.A.             )
ANN M. MASCIANTONIO, M.D.              )
                                       )
                      Defendants.      )

         WITHDRAWAL OF APPEARANCE OF PHILLIP M. CASALE
        ON BEHALF OF DEFENDANT ANN M. MASCIANTONIO, M.D.

         Phillip M. Casale hereby withdraws his appearance on behalf of Defendant

Ann M. Masciantonio, M.D.

                                       MORRIS JAMES LLP

                                       /s/ Phillip M. Casale

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                                       Masciantonio, M.D.
Dated: 2/18/2022




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                            CERTIFICATE OF SERVICE

         I, Phillip M. Casale, hereby certify that on this 18th day of February, 2022, I

have caused the following document to be served electronically to Eckert Seamans

Cherin & Mellott, LLC and via U.S. Mail on the parties listed below:

WITHDRAWAL OF APPEARANCE OF PHILLIP M. CASALE ON
BEHALF OF DEFENDANT ANN M. MASCIANTONIO, M.D.

               U.S. Mail service to:

                      Simon Tusha
                      1060 Hidden Moss Drive
                      Cockeysville, MD 21030

                      J.T.
                      1060 Hidden Moss Drive
                      Cockeysville, MD 21030




                                         /s/ Phillip M. Casale
                                         Phillip M. Casale (#5727)




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